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           EXHIBIT A
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  1                   IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
  2                             EASTERN DIVISION

  3     COMMITTEE FOR A FAIR AND                       )
        BALANCED MAP, JUDY BIGGERT,                    )
  4     ROBERT J. DOLD, RANDY HULTGREN,                )
        ADAM KINZINGER, DONALD                         )
  5     MANZULLO, PETER ROSKAM BOBBY                   )
        SCHILLING, AARON SCHOCK, JOHN                  )
  6     M. SHIMKUS, JOE WALSH, RALPH                   )
        RANGEL, LOU SANDOVAL, LUIS                     )
  7     SANABRIA, MICHELLE CABALLERO,                  )
        EDMUND BREZINSKI, and LAURA                    )
  8     WAXWEILER,                                     )
                                                       )
  9                                 Plaintiffs,        )
                                                       )
10              vs.                                    ) No.
                                                       ) 1:11-CV-050065
11      ILLINOIS STATE BOARD OF                        )
        ELECTIONS, WILLIAM M.                          )
12      MCGUFFAGE, JESSE F. SMART,                     )
        BRYAN A. SCHNEIDER, BETTY J.                   )
13      COFFRIN, HARROLD D. BYERS,                     )
        JUDITH C. RICE, CHARLES W.                     )
14      SCHOLZ, and ERNEST L. GOWEN,                   )
                                                       )
15                                  Defendants.        )

16                      The deposition of DONALD MANZULLO, called

17      by the defendant for examination pursuant to notice

18      and pursuant to the Rules of Civil Procedure for the

19      United States District Courts pertaining to the

20      taking of depositions, taken before Amy M. Spee, a

21      notary public within and for the County of Cook and

22      State of Illinois, at 70 West Madison Street, 55th

23      Floor, Chicago, Illinois, on the 7th day of October

24      2011.

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  1             APPEARANCES:

  2                    MAYER BROWN, LLP, by
                       MS. LORI E. LIGHTFOOT
  3                    71 South Wacker Drive
                       Chicago, Illinois 60606-4673
  4                    (312) 782-0600
                       lightfoot@mayerbrown.com
  5                        for the plaintiffs;

  6                    POWER, ROGERS & SMITH, P.C., by
                       MR. DEVON C. BRUCE
  7                    70 West Madison Street
                       55th Floor
  8                    Chicago, Illinois 60602
                       (312) 236-9381
  9                    dbruce@prslaw.com
                           for the defendants.
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  1                                 I N D E X

  2     Witness:                                                         Page

  3     DONALD MANZULLO

  4              Examination by:

  5                    Mr. Bruce                                           4

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  9                                E X H I B I T S

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  1     and it came out just a few hours before it was voted

  2     on.    How could you comment on something that you

  3     can't see.

  4             Q     Can I have my question --

  5             A     I had no idea that this would ever happen

  6     to my district.         It's always been up against the

  7     Mississippi river, always gone western to the --

  8     always gone to the east and Rockford has never been

  9     divided.      I had no idea, no inclination anybody would

10      be that cruel and divide that city.

11              Q     Have you ever spoken to the mayor much

12      Rockford?

13              A     Yes.

14              Q     And what has the mayor of Rockford --

15              A     Easy absolutely upset over this.

16              Q     So mayor more see?

17              A     Mayor more see is out raged over it because

18      he knows the work I have done for that city.

19              Q     When did Mr. Mayor Morrissey tell you that

20      he was out raged about the division of Rockford into

21      two Congressional districts?

22              A     Well, it would have been after the map came

23      out.     I can't tell you when and where but I did

24      personally talk to him, he was very upset.

                                                                                30
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  1             Q     Tell me his exact words?

  2             A     I can't remember his exact words.

  3             Q     Okay.

  4             A     But he was out raged.            He was very upset

  5     and so is Scott Christianson, who is the chair of

  6     county board.

  7             Q     Now, I think we digressed.              I simply asked

  8     you, did you ever send anyone on your behalf to any

  9     of the redistricting committee hearings?

10              MS. LIGHTFOOT:        And that's been asked and

11      answered.

12      BY MR. BRUCE:

13              Q     Go ahead you can answer, congressman?

14              A     No.

15              Q     Okay.     And when did you first retain

16      counsel to represent you in the redistricting

17      process?

18              MS. LIGHTFOOT:        Objection.       Relevance.

19              THE WITNESS:        I don't know.

20      BY MR. BRUCE:

21              Q     Well, was it before or after the map was

22      passed?

23              MS. LIGHTFOOT:        Objection.       Relevance.

24              THE WITNESS:        I think it was before, but...

                                                                                31
